                                                                      SO ORDERED.


                                                                       Dated: February 8, 2018


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 2
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 6
     Attorneys for HSBC Bank USA, National Association, as Trustee for Deutsche ALT-A
 7   Securities Mortgage Loan Trust, Series 2007-1, its assignees and/or successors, by and through
 8   its servicing agent MidFirst Bank

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10
                              UNITED STATES BANKRUPTCY COURT
11
                                 FOR THE DISTRICT OF ARIZONA
12
13                                       PHOENIX DIVISION

14
     In re:                                          )
15                                                     Case No. 2:17-bk-04317-EPB
                                                     )
     Cathleen Ann Peterson aka Cathy Peterson and Chapter 13
16                                                   )
     Thomas James McIntosh aka Tom McIntosh,
                                                     )
17
                        Debtors                      ) EX PARTE ORDER TERMINATING
18   ________________________________ ) AUTOMATIC STAY AFTER DEFAULT
19   HSBC Bank USA, National Association, as         ) UNDER ORDER APPROVING
     Trustee for Deutsche ALT-A Securities           ) ADEQUATE PROTECTION
20   Mortgage Loan Trust, Series 2007-1, its           STIPULATION
                                                     )
     assignees and/or successors, by and through its
21                                                   )
     servicing agent MidFirst Bank,
                                                     )
22
                        Movant,                      )
23      v.                                           )
24                                                   )
     Cathleen Ann Peterson and Thomas James          )
25   McIntosh, Debtors; and Edward J. Maney,
                                                     )
     Chapter 13 Trustee,
26                                                   )
27                      Respondents.

28            HSBC Bank USA, National Association, as Trustee for Deutsche ALT-A Securities

29   Mortgage Loan Trust, Series 2007-1, its assignees and/or successors, by and through its


     File No. AZ-17-136408                         1                      Case No. 2:17-bk-04317-EPB
                                                                               Order Terminating Stay
     Case 2:17-bk-04317-EPB        Doc 48 Filed 02/08/18 Entered 02/08/18 15:36:42               Desc
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 1
     servicing agent MidFirst Bank (“Movant”), having filed a Motion for Relief from the Automatic
 2
     Stay, found at Docket No. 14, with respect to the hereinafter-described property, and thereafter
 3
     having filed an Adequate Protection Stipulation, found at Docket No. 28, with Cathleen Ann
 4
     Peterson and Thomas James McIntosh (“Debtors”) which was later approved by the Court with
 5
     an Order Approving Adequate Protection Stipulation, found at Docket No. 31, with respect to
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     the hereinafter-described property. After providing Debtors with notice of a default, which was
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     not timely cured and with good cause appearing,
 8
                     IT IS THEREFORE ORDERED that:
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            Any and all stays against lien enforcement, including the automatic stay of 11 U.S.C. §
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     362(a) and the automatic injunction of 11 U.S.C. § 524(a), are hereby vacated with respect to
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     the property generally described as 1335 West Highland Street, Chandler, AZ 85224, and
12
     Movant, its assignees and/or successors in interest, may enforce remedies pursuant to state law
13
     and contractual documents.
14
                     IT IS FURTHER ORDERED that:
15
            Movant’s claim is no longer treated pursuant to 1322(b)(5) and thus, Fed. Rule Bank. P.
16
     3002.1 no longer applies in the instant case.
17
                     IT IS FURTHER ORDERED that:
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            The Moving Party, at its option, may offer, provide and enter into any potential
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     forbearance agreement, loan modification, refinance agreement or other loan workout/loss
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     mitigation agreement as allowed by state law. The Movant may contact the Debtors via
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     telephone or written correspondence to offer such an agreement. Any such agreement shall be
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     non-recourse.
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                             ORDER SIGNED AND DATED ON PAGE ONE
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     File No. AZ-17-136408                           2                     Case No. 2:17-bk-04317-EPB
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